                   Case 3:18-cr-05029-W Document 16 Filed 11/14/18 PageID.44 Page 1 of 1


                                       UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF CALIFORNIA


           UNITED STATES OF AMERICA             )                CASENUMBER           /tmJ f /OJ1
                                                }
                           vs                   )                ABSTRACT OF QRQiA
                                                )
                                                )                Booking No.    ~o '5 ~ 'I 1' q ~
Aus-'1~1r'av1~ Dtw-1s'2r                        )
                                                )
                                                )

  TO THE UNITED STATES MARSHAL AND I OR WARD7 M r A f l CORRECTIONAL CENTER:
           Be advised that under date of ..             .
                                                       I/ I        Jtf
  the Court entered the following order:




            /             Defendant be released from custody.

  - - - - - - - Defendant placed on supervised I unsupervised probation/ supervised release.

  '-----'---'""'-- Defendant continued on supervised I unsupervised probation I supervised release.



  --____,,>...,._/_---..,.., Defendant released on $ · ;;/D;@ f /s-                                   60nd posted.

  - - - - - - Defendant appeared in Court. FINGERPRINT & RELEASE.

  - - - - - - - Defendant remanded and (                        bond) t                 bond on appeal) exonerated.

  - - - - - - - Defendant sentenced to TIME SERVED, $Upervised release for                          years.

  - - - - - - - Bench Warrant Recalled.

  - - - - - - - Defendant forfeited collateral.

  ~------Case dismissed.

  - - - - - - - C a s e dismissed, charges pending in case no.----------~~--------

  - - - - - - - · Defelldant1o be released to Pretrial Services for electronic moniteril:lg.

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                                                                                  Ruth Bermudez Mor'
                                                                  UNffED STATES;Dl~;l"RLCT/NI~



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  Crim-9    (Rev. 8--H)

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